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Vaughn v. Phoenix House Foundation, Inc., Slip Copy (2019)


                                                              Amended Complaint (“TAC”). For the reasons that
                                                              follow, the motion to dismiss is granted.
                 2019 WL 568012
   Only the Westlaw citation is currently available.
    United States District Court, S.D. New York.
                                                                                   BACKGROUND
             Mark VAUGHN, Plaintiff,
                        v.                                       I. Factual Background 1
     PHOENIX HOUSE FOUNDATION, INC. and                       In July of 2009, Vaughn agreed to participate in an in-
    Phoenix Houses of New York, Inc., Defendants.             patient substance abuse rehabilitation program “in lieu
                                                              of facing criminal charges.” TAC ¶¶ 1, 9. Vaughn had
                   No. 14-CV-3918 (RA)                        a history of substance abuse, which began when he was
                            |                                 12 years old, and he “hoped that his time at Phoenix
                    Signed 02/12/2019                         House would provide him with the therapy he needed to
                                                              lead a drug-free life and allow him to be a good parent
Attorneys and Law Firms
                                                              to his young daughter.” Id. at ¶ 22, Vaughn was placed
Rachel Megan Bien, Jalise Revon Burt, Juno Emmeline           in a treatment facility operated by Phoenix House, and
Turner, Outten & Golden, LLP, New York, NY, for               he initially spent approximately 15 months in Phoenix
Plaintiff.                                                    House’s in-patient program. Id. at ¶¶ 21, 40. Although
                                                              he was released in October of 2010, he failed to abide by
Rachel G. Skaistis, Marie D. Howick, Cravath, Swaine          his outpatient stipulations and returned to one of Phoenix
& Moore LLP, New York, NY, for Defendants Phoenix             House’s facilities in February of 2011. Id. at ¶ 40, 42. He
House Programs of New York Inc., Phoenix Houses of            remained in their in-patient program for 11 more months,
New York, Inc.                                                until January of 2012. Id. at ¶ 49.

Marie D. Howick, Cravath, Swaine & Moore LLP, New             Vaughn alleges that, while he was a patient at Phoenix
York, NY, for Defendant Phoenix House Foundation.             House’s facilities, he was required to perform many hours
                                                              of unpaid, menial work. Id. at ¶ 1. For example, Vaughn
Rachel G. Skaistis, Cravath, Swaine & Moore LLP, New
                                                              alleges that at times he was required to work as the
York, NY, for Defendant Phoenix House Foundation,
                                                              “basement point,” a job which required him to sit at a
Inc.
                                                              desk, relay information to patients, and generally to serve
                                                              as the “point person” on the floor for eight-hour shifts,
                                                              six days per week. Id. at ¶ 30. During another portion
                 OPINION & ORDER
                                                              of his treatment, Vaughn was required to work in the
Ronnie Abrams, United States District Judge                   garbage room, where he also worked six days a week in
                                                              eight hour shifts. Id. at ¶ 32. Vaughn was also required
 *1 Plaintiff Mark Vaughn brings this action against          to work at the warehouse, where he was responsible for,
Defendants Phoenix House Foundation, Inc. and Phoenix         among other things, packing food orders for delivery to
Houses of New York, Inc. (collectively, “Phoenix House”)      Phoenix House’s treatment locations. Id. at ¶ 47. Vaughn
for alleged violations of, inter alia, the Fair Labor         alleges that this work exhausted him and left him with
Standards Act (“FLSA”) and the New York Labor Law             little time to participate in therapeutic sessions. Id. at ¶
(“NYLL”). This Court previously dismissed Vaughn’s            35. He also alleges that the work did not contribute to his
Amended Complaint and Second Amended Complaint                treatment plan or advance his goals, which were “to obtain
for failure to state a claim. On appeal, the Second Circuit   the skills he needed to stay off drugs and gain vocational
affirmed in part and vacated in part, remanding Vaughn’s      skills that could translate into stable (i.e., not menial, low
FLSA claims, as well as state and city law claims,            wage) employment.” Id. at ¶ 52.
for reconsideration in light of Glatt v. Fox Searchlight
Pictures, Inc., 811 F.3d 528 (2d Cir. 2016). Before the       Vaughn complained to staff about his work requirements
Court is Phoenix House’s motion to dismiss the Third          and at times failed to report to work; Id. at ¶¶ 36–40,
                                                              62. In response, the staff at Phoenix House’s treatment


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facility told Vaughn that if he did not complete his work,       Second Amended Complaint, the Court explained, failed
he would be required to go to jail. Id. at ¶¶ 36–37. Phoenix     to provide any additional factual allegations concerning
House also arranged an “intervention” around Vaughn’s            his relationship to Phoenix House that would permit
work issues and sought the involvement of a judge. Id. at ¶      the Court to draw the inference that Vaughn was an
39. During Vaughn’s second stay at the treatment facility,       “employee.” Thus, “[f]or the reasons stated in its prior
he expected to be released after approximately 6 months.         opinion,” the Court again dismissed Vaughn’s FLSA
However, due to his work issues, a judge required him to         claims, noting that “the principal benefit of [Vaughn’s]
stay for several more months, until January 2012. Id. at ¶       participation in the program was to him,” and that
49.                                                              Vaughn had agreed to participate in the treatment
                                                                 program not “for the purpose of receiving monetary
                                                                 compensation,” but rather “to resolve the criminal
   II. Procedural History                                        charges against him.” Id. at *4 (internal quotation marks
 *2 Vaughn initiated this action pro se on May 12,               omitted). The Court declined to exercise supplemental
2014 and on September 10, 2014, he filed an Amended              jurisdiction over Vaughn’s state and city law claims, and
Complaint, asserting causes of action under 42 U.S.C. §          denied him leave to amend. Id. at *5.
1983, the FLSA, and various provisions of New York
State and City law. On September 25, 2015, this Court            Vaughn appealed the dismissal of his Second Amended
granted Phoenix House’s motion to dismiss the Amended            Complaint. The Second Circuit, in a summary order,
Complaint, holding that the § 1983 claims lacked merit           affirmed the dismissal of Vaughn’s claims under §§ 1983
and that the FLSA claims failed because Vaughn was               and 1994, but remanded for reconsideration of the FLSA
not an “employee” within the meaning of the FLSA.                and state and city law claims. Vaughn v. Phoenix House
Vaughn v. Phoenix House Programs of New York, No.                New York Inc., 722 F. App'x 4 (2d Cir. 2018). The Second
14-cv-3918, 2015 WL 5671902, at *6–8 (S.D.N.Y. Sept.             Circuit explained that the FLSA claims required further
25, 2015). In concluding that Vaughn did not have an             analysis in light of Glatt v. Fox Searchlight Pictures, Inc.,
employment relationship with Phoenix House, the Court            811 F.3d 528 (2d Cir. 2016), characterizing that case as “an
considered (1) that Vaughn had not entered the program           important precedent that may bear on [the] question” of
for the purpose of receiving monetary compensation, (2)          whether Vaughn was an employee under the FLSA. 722
that Vaughn, not Phoenix House, received the principal           F. App'x at 6. Although the Second Circuit noted that
benefit of the relationship, since successful participation in   Glatt addressed the specific question of whether interns
the treatment program permitted dismissal of the criminal        are employees under the FLSA, it explained that “the
charges pending against him, and (3) that his work               nature of that relationship may have some resemblance
assignments were related exclusively to the operations           to the vocational training aspects of certain rehabilitation
of the treatment facility. Id. at *8. Having dismissed           programs[.]” Id. The Second Circuit thus vacated the
Vaughn’s federal law claims, the Court declined to retain        Court’s dismissal of the FLSA claims and remanded for
supplemental jurisdiction over Vaughn’s claims under             further consideration. Id. at 6–7. It recommended that, on
state and city law. Id. at *9.                                   remand, Vaughn be appointed pro bono counsel. Id. at 7.

The Court granted Vaughn leave to amend, and on                  On remand, the Court appointed Vaughn pro bono
October 27, 2015, Vaughn filed his Second Amended
                                                                 counsel and granted him leave to amend. 2 On April 30,
Complaint, which re-asserted his § 1983, FLSA, and state
                                                                 2018, Vaughn filed the TAC, which alleges violations of
and city law claims, and brought an additional cause of
                                                                 the minimum wage and overtime provisions of the FLSA
action under 42 U.S.C. § 1994, the federal anti-peonage
                                                                 and the NYLL. Phoenix House once again moved to
statute. Phoenix House again moved to dismiss, and
                                                                 dismiss, principally on the ground that the TAC fails to
on August 9, 2016, the Court granted Phoenix House’s
                                                                 plausibly allege that Vaughn qualifies as an employee
motion. Vaughn v. Phoenix House Programs of New
York, 14-cv-3918, 2016 WL 4223748 (S.D.N.Y. Aug. 9,              under the FLSA. 3
2016). The Court held that Vaughn had failed to state
claims under §§ 1983 and 1994, and that, as to his FLSA
claims, Vaughn had once more failed to allege that he                           STANDARD OF REVIEW
was a covered employee under the FLSA. Vaughn’s


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 *3 “To survive a motion to dismiss, a complaint must             features:” (1) its “focus[ ] on what the intern receives in
contain sufficient factual matter, accepted as true, to ‘state    exchange for his work,” (2) its “flexibility to examine
a claim to relief that is plausible on its face.’ ” Ashcroft      the economic reality” of the relationship, and (3) its
v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.       acknowledgement that the intern-employer relationship is
v. Twombly, 550 U.S. 544, 570 (2007) ). “A claim has              subject to unique considerations in light of the intern’s
facial plausibility when the plaintiff pleads factual content     expected “educational or vocational benefits that are not
that allows the court to draw the reasonable inference            necessarily expected with all forms of employment.” Id.
that the defendant is liable for the misconduct alleged.”
Id. “Determining whether a complaint states a plausible           The Second Circuit has advised courts, “[i]n the context
claim for relief ... [is] a context-specific task that requires   of unpaid internships,” to weigh a “non-exhaustive set
the reviewing court to draw on its judicial experience and        of considerations” when evaluating whether an unpaid
common sense.” Id. at 679. Where the complaint “do[es]            intern qualifies as an employee for the purposes of the
not permit the court to infer more than the mere possibility      FLSA. Id. at 537. These considerations include:
of misconduct,” it does not “plausibly give rise to an
entitlement to relief,” Id.                                         1. The extent to which the intern and the employer
                                                                       clearly understand that there is no expectation
                                                                       of compensation. Any promise of compensation,
                                                                       express or implied, suggests that the intern is an
                       DISCUSSION                                      employee—and vice versa.

Consistent with the Second Circuit’s remand, the Court              2. The extent to which the internship provides training
has considered Glatt and the guidance that case provides               that would be similar to that which would be given
regarding what qualifies as an employment relationship                 in an educational environment, including the clinical
for the purposes of the FLSA. Although the Court                       and other hands-on training provided by educational
remains of the view that the facts of this case are                    institutions.
more analogous to the prison context, see Danneskjold v.
Hausrath, 82 F.3d 37 (2d Cir. 1996), or to court-mandated           3. The extent to which the internship is tied to the
community service, see Doyle v. City of New York, 91                  intern’s formal education program by integrated
F. Supp. 3d 480 (S.D.N.Y. 2015), than they are to the                 coursework or the receipt of academic credit.
internship context, see Vaughn, 2015 WL 5671902, at *7–
8 (drawing on the analyses of Doyle and Danneskjold                 4. The extent to which the internship accommodates the
to conclude that Vaughn is not a FLSA employee),                       intern’s academic commitments by corresponding to
applying the Glatt framework here reinforces the Court’s               the academic calendar.
prior conclusion that Vaughn cannot plausibly have been
                                                                    5. The extent to which the internship’s duration is
Phoenix House’s employee. Vaughn’s FLSA claims are
                                                                      limited to the period in which the internship provides
therefore dismissed. And for the reasons stated in its
                                                                      the intern with beneficial learning.
previous opinions, the Court again declines to exercise
supplemental jurisdiction over Vaughn’s claims under the             *4 6. The extent to which the intern’s work
NYLL.                                                                 complements, rather than displaces, the work of paid
                                                                      employees while providing significant educational
                                                                      benefits to the intern.
   I. Glatt
In Glatt, the Second Circuit considered the question of             7. The extent to which the intern and the employer
whether an unpaid intern qualifies as an employee entitled             understand that the internship is conducted without
to compensation under the FLSA. 811 F.3d at 535. The                   entitlement to a paid job at the conclusion of the
Court held that, in assessing the nature of the relationship           internship.
between an intern and his employer, “the proper question
is whether the intern or the employer is the primary              Id. The Glatt Court explained that “every factor need not
beneficiary of the relationship.” Id. at 536. This “primary       point in the same direction for the court to conclude that
beneficiary test,” the Court explained, has “three salient        the intern is not an employee entitled to the minimum



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wage.” Id. Rather, applying these factors “requires           or vocational training program. Accordingly, the Glatt
weighing and balancing all of the circumstances,” with the    factors that focus on the relationship between an unpaid
“economic reality of the relationship” as the “touchstone     internship and the intern’s formal education program—
of [the] analysis.” Id.                                       for example, the existence of integrated coursework, the
                                                              receipt of academic credit, and the extent to which the
                                                              internship accommodates the academic calendar—have
   II. Applicability of Glatt                                 no direct application here. See Glatt, 811 F.3d at 537
As a preliminary matter, the Court notes that although        (factors two through four). Moreover, to the extent that
a high-level application of the “primary beneficiary test”    these factors call to mind analogous considerations that
is instructive for determining whether a patient in a drug    bear on whether Vaughn was Phoenix House’s employee,
treatment program can also qualify as the treatment           the Glatt analysis assigns them more weight than is
center’s employee, some of the specific factors enumerated    due. In particular, devoting three of seven factors to
in Glatt have limited application to the context at           the relationship between a program and its participant’s
issue here. In Glatt itself, the Second Circuit expressly     formal education makes sense where the very purpose
cabined its analysis to internships, remarking that the       of that program is to “integrate classroom learning with
approach “is confined to internships and does not apply       practical skill development.” Id. But where, as here, that
to training programs in other contexts.” Id. In so doing,     purpose is absent, placing such emphasis on a program’s
the Second Circuit emphasized that—unlike in other            links to education obscures the “economic reality of the
training programs—the “purpose of a bona fide internship      relationship,” which is, again, the “touchstone of the
is to integrate classroom learning with practical skill       analysis.” Id.
development in a real-world setting.” Id. In light of this
unique purpose, the Court explained, the Glatt factors         *5 The Court thus believes that a stringent application of
focus on the “relationship between the internship and the     the Glatt factors to this case would “cause [the] [C]ourt to
intern’s formal education.” Id.                               miss the forest for the trees.” Doyle, 91 F. Supp. 3d at 486.
                                                              It would place too much importance on the rehabilitation
Last week, in Velarde v. GW GJ, Inc., No. 17-330, 2019        program’s links to education and too little importance on
WL 436869, at *1 (Feb. 5, 2019), the Second Circuit held      the central purposes underlying this relationship, namely,
that the primary beneficiary test also “governs in the for-   Vaughn’s desire to avoid criminal charges and obtain
profit vocational training context.” The Court explained      treatment for substance abuse, Thus, although the Court
that the Glatt test is “equally suitable” to for-profit       applies the primary beneficiary test to evaluate whether
vocational training, because “[l]ike interns, vocational      Vaughn qualifies as an employee, in weighing the Glatt
students enter a course of study with ‘the expectation        factors the Court focuses on a “higher level of generality”
of receiving educational or vocational benefits that are      in order to faithfully assess the “economic reality” of
not necessarily expected with all forms of employment.’       Vaughn’s relationship with Phoenix House. Danneskjold,
” Id. at *4 (quoting Glatt, 811 F.3d at 536). In light of     82 F.3d at 42.
these expectations, the Court explained, “[t]he primary
beneficiary test allows courts to measure the extent to
which the school meets these expectations against the            III. Application of Glatt
economic benefits received by the school in the form of       As stated above, the central inquiry endorsed by Glatt
free labor.” Id. at *4, The Court made clear, however,        is whether the employer or the intern—here, the patient
that when applying the Glatt factors to new contexts,         —was the “primary beneficiary” of the relationship.
some factors “provide insight” while others may be “less      An examination of the Glatt factors—and the relative
telling.” Id. at *5.                                          weights of those factors in this context—makes plain
                                                              that it was Vaughn, not Phoenix House, who primarily
Vaughn’s purposes in participating in Phoenix House’s         benefitted from Vaughn’s participation in the substance
treatment program were, unlike in the internship or           abuse treatment program.
vocational training context, to avoid facing criminal
charges and obtain treatment for substance abuse. TAC at
¶¶ 1, 22, These goals are fundamentally different from the
goals that motivate participation in an unpaid internship


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                                                               “hoped that his time at Phoenix House would provide him
                                                               with the therapy he needed to lead a drug-free life and
         A. Factors One and Seven: Expectation
                                                               allow him to be a good parent to his young daughter.”
              of Compensation or Paid Job
                                                               TAC at ¶¶ 21–22. Moreover, although the TAC contains
Factors one and seven require the Court to consider            few details concerning the relationship between Vaughn’s
the extent to which the parties understood that there          criminal charges and his participation in treatment, it is
was no expectation of compensation or entitlement to a         clear that he agreed to attend rehabilitation “in lieu of
paid job, These factors have been consistently described       facing criminal charges,” and that his alternative was to
as critical to determining whether an individual is an         go to jail. Id. at ¶¶ 1, 36–37.
employee for the purposes of the FLSA, not only in the
internship context, but in various other contexts as well.      *6 These allegations weigh heavily in favor of a finding
For example, in Walling v. Portland Terminal Co., 330          that Vaughn’s relationship with Phoenix House was
U.S. 148 (1947), which involved a training program for         not one of employment. Vaughn does not allege that
prospective brakemen, the Supreme Court underscored            he participated in substance abuse treatment “for the
that the FLSA “was obviously not intended to stamp             purpose of enabling [him] to earn a living.” Sanders v.
all persons as employees who, without any express or           Hoyden, 544 F.3d 812, 814 (7th Cir. 2008) (holding that
implied compensation agreement, might work for their           an individual civilly committed to a treatment facility
own advantage on the premises of another.” Id. at 152          as a sexually violent person was not covered by the
(emphasis added). Relying in large part on the absence         FLSA); Doyle, 91 F. Supp. 3d at 487 (“Put simply, people
of any such compensation agreement between the parties,        who perform community service as a condition of an
the Walling Court held that the FLSA did not cover the         [adjournment in contemplation of dismissal (“ACD”) ]
trainees in that case. Id. The Ninth Circuit, likewise, in     do not do so ‘for the purpose of enabling them to earn
concluding that a participant in the Salvation Army’s          a living,’ or indeed to receive financial compensation
rehabilitation program was not covered under the FLSA,         of any kind.”) (internal citation omitted). Nor does he
relied in substantial part on the fact that the participant    allege that his work was performed “in exchange for
“had neither an express nor an implied agreement for           in-kind benefits.” Williams, 87 F.3d at 1067. Rather,
compensation with the Salvation Army and thus was              the purpose of his relationship with Phoenix House was
not an employee.” Williams v. Strickland, 87 F.3d 1064,        “solely rehabilitative and at no point was there an express
1067 (9th Cir. 1996). In Glatt, too, the Second Circuit        or implied agreement for compensation.” Id. at 1068.
emphasized that “[a]ny promise of compensation, express        Factors one and seven, accordingly, strongly suggest that
or implied, suggests that the intern is an employee—and        Vaughn “was never an ‘employee’ and thus [that] the
vice versa.” 811 F.3d at 537; see also Wang v. Hearst Corp.,   FLSA does not apply.” Id.
877 F.3d 69, 73 (2d Cir. 2017) (“[F]actors [one and seven]
are crucial to understanding the ‘economic reality’ of the
internship relationship.”).                                                B. Factor Five: Limited Duration

As in Walling and Williams, factors one and seven point        Factor five, which asks whether “the internship’s duration
decidedly against concluding that Vaughn was Phoenix           is limited to the period in which the internship provides
House’s employee. Vaughn concedes as much. Pl’s. Opp.          the intern with beneficial learning,” 811 F.3d at 537,
at 10 n.5 (“Plaintiff has not addressed the first or seventh   similarly counsels against a finding that Vaughn was
Glatt factors because he does not allege that Phoenix          Phoenix House’s employee. Vaughn alleges that he agreed
House promised him a job or compensation in exchange           to enter the treatment program for a limited period of
for his work.”). The TAC contains no allegations that          18–24 months, that he was released after approximately
the parties expected Vaughn to receive compensation for        15 months, and that he was sent back to the facility
his work at Phoenix House’s facilities, or that Vaughn         only after he violated the conditions of his outpatient
believed he would be entitled to a paid job at the             treatment. TAC at ¶¶ 9, 40, 42. These allegations
conclusion of his treatment; To the contrary, Vaughn           indicate that the duration of Vaughn’s participation in the
alleges that “[t]he purpose of Vaughn’s diversion to           program was tailored to his individual treatment needs
Phoenix House was to receive treatment” and that he            and limited to the period in which the program could be



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expected to provide Vaughn with rehabilitative benefits.        Id. at ¶¶ 31, 33. The nature of this work, and the number
See Williams, 87 F.3d at 1068 (“[T]he beneficiaries of          of hours he spent performing it, suggest that Vaughn was
the Salvation Army remain in the work-therapy program           engaged in work that may otherwise have been completed
long enough to overcome their substance abuse problems          by paid staff. This factor supports a finding that Vaughn
and gain the necessary work-related skills to reenter the       was plausibly Phoenix House’s employee.
marketplace.”). Although the duration of his stay at
Phoenix House’s treatment facility was lengthy, it was
so in part because Vaughn violated the conditions of
                                                                            D. Factors Two, Three, and Four:
his outpatient treatment, suggesting that he still stood
                                                                        Similarities and Links to Formal Education
to benefit from the in-patient program. Id. at ¶ 42. The
duration of Vaughn’s participation in the program was            *7 As stated previously, factors two, three, and four
thus limited to the period in which it provided him with        —which assess whether an internship program is similar
beneficial treatment, indicating that it was structured to      to an educational environment, whether it is tied to
benefit Vaughn, not Phoenix House. Accordingly, this            an intern’s formal education program, and whether
factor, like factors one and seven, points against finding      it accommodates an intern’s academic commitments—
that Vaughn was Phoenix House’s employee.                       are not directly relevant to Vaughn’s relationship with
                                                                Phoenix House, because Vaughn did not participate in
                                                                any formal education program while receiving in-patient
              C. Factor Six: Displacement of                    treatment. These factors also do not weigh as heavily as
               the Work of Paid Employees                       they do in the internship context, given that the purpose of
                                                                Vaughn’s treatment was not, as in the case of the unpaid
By contrast, the sixth factor, which asks whether “the          internship, to “integrate classroom learning with practical
intern’s work complements, rather than displaces, the           skill development in a real-world setting,” Glatt, 811 F.3d
work of paid employees,” 811 F.3d at 537, could plausibly       at 537, but rather to address a substance abuse problem
support a finding that Vaughn was Phoenix House’s               and avoid prison. Nevertheless, factors two, three, and
employee. This factor—like factors one, seven, and five—        four raise arguably analogous considerations, which may
has been applied to settings beyond the internship context      shed some light on the nature of the relationship at issue
to evaluate whether workers are employees under the             in this case.
FLSA. For example, in Walling, the Supreme Court noted
that the trainees at issue in that case “[did] not displace     For example, as to factor two—the extent to which the
any of the regular employees, who [did] most of the work        internship provides training similar to that which would
themselves, and [had to] stand immediately by to supervise      be provided in an educational environment—it is helpful
whatever the trainees [did].” 330 U.S. at 150. Similarly,       to consider whether Vaughn’s work environment was
the Second Circuit, in Velarde, reasoned that because the       similar to an educational setting, or instead resembled
plaintiff in that case—a vocational student who performed       the stricter structures of an employment relationship.
unpaid work at a salon—conducted his work “under the            Vaughn’s allegations to that effect cut both ways. On the
watchful eye of its industry experienced educators,” the        one hand, Vaughn alleges that the menial work he was
fact that he was “otherwise useful or productive to the         asked to complete was exhausting and stressful, did not
[vocational school] did not render him its employee.” 2019      advance his treatment goals, and at times interfered with
WL 436869, at *7 (internal quotation marks omitted).            his ability to participate in therapeutic sessions. TAC at
                                                                ¶¶ 28, 35. Vaughn also alleges that he conducted some of
Here, the TAC’s allegations, construed in the light most        his work alone and unsupervised, which tends to suggest
favorable to Vaughn, allow the Court to reasonably              that the environment was focused on work, rather than on
infer that some of Vaughn’s work displaced, rather than         vocation or rehabilitation. On the other hand, Vaughn’s
complemented, the work of paid employees. Vaughn                job responsibilities—working as the point person for his
alleges that he worked eight hour shifts, six days a week, in   floor, preparing food, and working in the garbage room
the garbage room, at the warehouse, and as the “basement        —all tend to serve the rehabilitative purposes of acquiring
point.” TAG at ¶¶ 30, 32, 34, 46–47. He further alleges that    skills for daily living, “eas[ing] [his] transition to the world
some of this work was completed alone and unsupervised.         outside,” and “equip[ping] [him] with skills and habits that



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will make [him] less likely to return to crime.” Sanders,       *8 In sum, factors one, seven, and five weigh strongly
544 F.3d at 814. The work he was asked to complete was         against finding that Vaughn was Phoenix House’s
not on behalf of any “private, for-profit enterprise[ ],”      employee. Factor six points in favor of finding that
and was not directed toward the “produc[tion] of goods         Vaughn was Phoenix House’s employee. And factors
or services that are sold in commerce.” Doyle, 91 F.           two, three, and four provide mixed guidance. Critically,
Supp. 3d at 490 (quoting Danneskjold, 82 F.3d at 44).          however, weighing these factors in light of “all of the
Moreover, Phoenix House did not fire Vaughn when he            circumstances” alleged in the TAC makes clear that
repeatedly refused to report to work; rather, it warned        Vaughn was the “primary beneficiary” of this relationship
him that work was a required aspect of his program,            and was not, in any plausible sense, an employee of
arranged an “intervention” with a counselor, and sought        Phoenix House’s treatment program. Glatt, 811 F.3d at
the input of a judge. Id. at ¶ 39. These allegations suggest   537.
that the treatment facility had more in common with
an educational environment than an employment setting.         Vaughn’s participation in Phoenix House’s rehabilitation
Factor two, accordingly, could support either a finding        program afforded him significant benefits, some of which
that Vaughn was Phoenix House’s employee or a finding          are captured by the Glatt factors and others which are not.
that he was not.                                               Most importantly, Vaughn was given the opportunity to
                                                               avoid facing his criminal charges and to stay out of prison.
Like factor two, factors three and four also seem to           He was provided with food, a place to live, therapy,
cut both ways. As to factor three “[t]he extent to which       vocational training, and jobs that kept him busy and off
the internship is tied to the intern’s formal education        drugs. Although Vaughn may have preferred to acquire
program by integrated coursework or the receipt of             “skills that could translate into stable (i.e., not menial, low
academic credit,” 811 F.3d at 537—Vaughn’s work was            wage) employment,” TAC at ¶ 52, the jobs he was assigned
tied to his treatment program and he received a form of        undoubtedly furthered the development of the skill of
“credit” by avoiding his criminal charges. On the other        self-sufficiency, which could be expected to facilitate
hand, Vaughn alleges that no one explained to him how          his transition to a drug-free life. Cf. 14 N.Y.C.R.R. §
his work advanced his rehabilitation goals, suggesting         819.2(d)(3) (“A chemical dependence residential service
that the work was not “integrated” with his treatment          shall have as [one of] its goals ... the utilization of
plan. TAC at ¶ 51. As to factor four—“[t]he extent to          individualized treatment/service plans to support the
which the internship accommodates the intern’s academic        maintenance of recovery and the attainment of self-
commitments,” id.—Vaughn alleges that the program              sufficiency, including, where appropriate, the ability to
at times accommodated his therapeutic and vocational           be functionally employed[.]”); Danneskjold, 82 F.3d at 43
goals, but at times did not. For instance, at one point        (“Prisoners may thus be ordered to cook, staff the library,
during his treatment, Vaughn was able to spend large           perform janitorial services, [or] work in the laundry ...
portions of the day taking vocational classes in basic         Such work occupies prisoners' time that might otherwise
carpentry. TAC at ¶ 35. On the other hand, Vaughn’s            be filled by mischief [and] it trains prisoners in the
work purportedly interfered with his rehabilitation by         discipline and skills of work[.]”).
exhausting him and causing him to miss out on therapeutic
sessions. Id. at ¶ 2. These latter allegations suggest         Phoenix House, on the other hand, received no
that Phoenix House did not accommodate Vaughn’s                comparable benefit from taking on Vaughn as a patient
therapy the way an employer of an unpaid intern                at its facilities. It is true, as discussed in the Court’s
might accommodate the intern’s academic commitments.           analysis of the sixth Glatt factor, that Vaughn performed
Factors three and four, like factor two, could therefore       work that Phoenix House might otherwise have been
support either a finding that Vaughn was Phoenix House’s       required to hire a paid employee to perform. In that sense,
employee or a finding that he was not.                         as Vaughn alleges, Vaughn’s work may have enabled
                                                               Phoenix House “to reduce its costs in comparison to
                                                               other treatment facilities in the marketplace.” Id. at ¶ 61.
                                                               However, particularly in light of the fact that Vaughn
              E. Weighing the Glatt Factors
                                                               did not work “to produce goods or services that are sold
                                                               in commerce,” Danneskjold, 82 F.3d at 43, but rather to



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“serve various institutional missions of the [facility], such   him with the opportunity to develop skills of vocation
as ... care and maintenance,” id., any such benefit does not    and self-sufficiency—even if they were not the skills that
meaningfully compare to the substantial benefits Vaughn         Vaughn himself would have independently chosen to
received from participating in Phoenix House’s treatment        develop. In that sense, his work was more akin to court-
program. When courts have considered this issue under           mandated community service, see Doyle, 91 F. Supp. 3d
comparable circumstances, they have not considered the          at 487, or prison labor, see Danneskjold, 82 F.3d at 44,
displacement of paid employees to be dispositive, or            than it was to the work of an unpaid intern. The Court
even material. See Williams, 87 F.3d at 1068 (holding           thus places less weight on the sixth Glatt factor here than
that participants in the Salvation Army’s rehabilitation        it might in the case of an unpaid internship, or in another
program were not employees under the FLSA, without              employment context in which the employer stands to gain
considering whether their work displaced the work of            something from the relationship beyond maintaining the
FLSA employees); Doyle, 91 F. Supp. 3d at 490 (holding          very facility whose sole purpose it is to serve the purported
that individuals who performed community service as a           employees.
condition of an ACD were not FLSA employees, and
rejecting the argument that “allowing the City to exploit       For similar reasons, the Court places less weight on
their free labor undermines the FLSA wage scale because         Vaughn’s allegations relevant to Glatt factors two, three,
the City would otherwise have to hire people to do their        and four—that his work was often unsupervised and
work.”).                                                        exhausting, and that it at times interfered with his ability
                                                                to attend therapeutic sessions, thereby adversely affecting
Furthermore, in evaluating the importance of the sixth          his efforts to obtain “the therapy he needed to lead a
Glatt factor in light of the totality of the circumstances      drug-free life.” TAC at ¶ 22. These allegations, accepted
of this case, it is important to recognize, for the reasons     as true, paint a potentially problematic picture of the
stated above, that this context differs significantly from      treatment Vaughn received at Phoenix House. But “[t]hat
the internship and for-profit vocational training contexts.     [Phoenix House did] not provide the optimal learning
In contrast to Phoenix House’s treatment facilities, which      experience for [Vaughn] does not necessarily transform it
operate for the exclusive purpose of “providing drug and        into the primary beneficiary of the relationship.” Velarde,
alcohol addiction treatment,” TAC at ¶ 14, places of            2019 WL 436839, at *6. Even if Vaughn’s work was
employment that hire interns or vocational trainees most        exhausting and unsupervised, it still afforded him the
often operate for some purpose other than to provide            significant benefits the Court has already described, while
training to their unpaid interns. The interns and trainees      providing Phoenix House with no comparable benefits in
that work at such places of employment perform work,            return. For that reason, Vaughn’s allegations that Phoenix
which, in addition to providing them with educational           House did not properly supervise or accommodate him do
and vocational benefits, also advances the employer’s           not plausibly suggest that Vaughn was Phoenix House’s
purposes apart from intern/trainee development. Because         employee—they suggest, at most, that the treatment
the work of interns and trainees provides these entangled       Vaughn received was unsatisfactory. Vaughn is, of
benefits to both intern and employer, “teasing out              course, entitled to complain to the appropriate regulatory
the respective benefits garnered by students and their          authority about the nature and quality of his treatment;
commercial training programs is key to determining              indeed, it appears from the TAC that he already has.
whether, for FLSA purposes, a trainee is serving primarily      TAC at ¶ 63, But as Vaughn was undoubtedly the primary
as an employee of that school or training program—or is         beneficiary of his treatment at Phoenix House’s facilities,
primarily a student.” Velarde, 2019 WL 436869, at *4.           his allegations do not make out a plausible claim that
                                                                Vaughn was Phoenix House’s employee and thus entitled
 *9 The same dynamic does not exist in the in-patient           to wages under the FLSA.
drug rehabilitation context described by Vaughn in the
TAC. Unlike the work of an unpaid intern or trainee,
all of Vaughn’s work at Phoenix House contributed to
                                                                                     CONCLUSION
the mission of “providing drug and alcohol addiction
treatment” to patients like Vaughn. His work facilitated        For the foregoing reasons, Vaughn’s FLSA claims are
the day-to-day operations of his residence and provided         dismissed. The Court declines to exercise supplemental



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jurisdiction over his claims under the NYLL. Accordingly,       SO ORDERED.
the Third Amended Complaint is dismissed with
prejudice. The Clerk of Court is respectfully directed to       All Citations
terminate the motion pending at docket entry 100 and to
close this case.                                                Slip Copy, 2019 WL 568012




Footnotes
1      These facts are taken from the TAC and are accepted as true for the purposes of this motion to dismiss.
2      The Court expresses its gratitude to pro bono counsel on both sides for their outstanding advocacy.
3      Phoenix House also argues that Vaughn’s FLSA claims are time-barred, as is the addition of Phoenix House Foundation
       as a defendant. Because the Court grants Phoenix House’s motion on other grounds, the Court need not consider these
       alternative arguments.


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